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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 Samuel Burningham,                                 CASE NO. 2:17-cv-00618-JNP-DBP

                       Plaintiff,                   STIPULATION FOR DISMISSAL

                  v.
                                                    Assigned to Honorable Jill N. Parrish
 Nordstrom, Inc,                                    Referred to Magistrate Dustin B. Pead
 d.b.a. Nordstrom Rack,

                   Defendant.



       PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),

Plaintiff and Defendant hereby stipulate that the above-entitled Action be dismissed with prejudice

each side to bear its own costs and fees.

       RESPECTFULLY submitted on this 17th day of August, 2017.



/s/ Michael P. Studebaker                                Cecilia M. Romero
                                                     /s/______________________
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